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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NEW YORK


   UNITED STATES OF AMERICA, EX             Civil Action No:
   REL. [UNDER SEAL]

                             Plaintiff,     COMPLAINT

              v.

   [UNDER SEAL]

                          Defendants.

                      FILED IN CAMERA AND UNDER SEAL

                          DO NOT ENTER IN PACER
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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK


   UNITED STATES OF AMERICA, EX                        Civil Action No:
   REL. BENJAMIN POEHLING,

                                      Plaintiff,       COMPLAINT FOR VIOLATION OF
                                                       FALSE CLAIMS ACT, 31 U.S.C.
                  v.                                   § 3729 ET SEQ.

   UNITEDHEALTH GROUP, INC.,                           FILED IN CAMERA AND UNDER
   WELLMED MEDICAL MANAGEMENT,                         SEAL PURSUANT TO 31 U.S.C.
   INC., HEALTH NET, INC., ARCADIAN                    § 3730(b)(2)
   MANAGEMENT SERVICES, INC., AND
   TUFTS ASSOCIATED HEALTH PLANS,                      DO NOT ENTER IN PACER
   INC.,

                                   Defendants.



          For its complaint, the United States of America ex rel. Benjamin Poehling

   (“United States”) alleges as follows:

   I.     INTRODUCTION

          1.      This is an action to recover damages and civil penalties on behalf of the

   United States under the Federal False Claims Act, 31 U.S.C. §§ 3729–33 (the “FCA”),

   against UnitedHealth Group, Inc., WellMed Medical Management, Inc., Health Net, Inc.,

   Arcadian Management Services, Inc., and Tufts Associated Health Plans, Inc. (hereafter

   collectively “Defendants”).

          2.      Defendants are managed care companies that cover benefits for Medicare

   beneficiaries under the Medicare Advantage (“MA”) program. Since at least 2006, some

   or all of the defendants have knowingly submitted, or caused to be submitted, false

   claims for payment to the United States by submitting false risk adjustment information



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   to the Centers for Medicare & Medicaid Services (“CMS”) in order to improperly

   increase the amounts CMS pays them. Likewise, since at least 2006, defendants have

   knowingly retained overpayments received from CMS as a result of their false risk

   adjustment submissions.

          3.      The MA program, in which the defendant health insurers participate, is

   designed to apply to Medicare a form of the “managed care” model commonly used by

   private health insurance companies. Under the managed care model, an employer or

   other organization seeking health care for its members—here the United States through

   the Medicare Program—pays a managed care organization a fixed fee to provide health

   services to its members. The payment is typically a per-member-per-month (“PMPM”)

   rate, also known as a capitation rate. The managed care organization receiving capitation

   payments (often a hospital, physician group, or other health insurance company) is

   responsible for paying hospitals, physicians and all other medical providers for health

   care services provided to a member of the plan. This differs from traditional fee-for-

   service (“FFS”) models, where the organization pays individual physicians, hospitals and

   other providers for each service they provide to the organization’s members.

          4.      Through the MA program, Medicare allows private health insurers to set

   up managed care plans to cover Medicare beneficiaries.        Medicare pays a monthly

   capitation rate for each beneficiary enrolled as a member of a MA plan. MA plans must

   then use that money to pay hospitals, physicians and other health care providers for the

   services the plan members receive and cover MA plans’ administrative expenses. CMS

   adjusts the capitation rate for each beneficiary to reflect that beneficiary’s individual

   demographics (e.g., age and gender), geographic location, and health status.




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          5.     The adjustment for each member’s health status is one of the most

   significant components of the capitation rate. Individuals with multiple and/or serious

   health conditions account for more healthcare costs than healthy members. Accordingly,

   CMS pays a substantially higher capitation rate for members who have been recently

   treated for one or more serious, expensive diseases or conditions.       These increased

   payments are known as “risk adjustment” payments. On average, CMS pays a MA plan

   close to $3,000 per year for each condition that a member has that requires a risk

   adjustment payment.

          6.     To receive these risk adjustment payments, MA plans submit claims to

   CMS each year for each member for each qualifying disease or condition. When the plan

   submits these claims, it must claim the member received treatment in the twelve-month

   period before the payment year for the diagnosed condition from a qualified healthcare

   provider. MA organizations may only submit a diagnosis for risk adjustment that: (1)

   stems from a face-to-face visit; (2) with a qualified healthcare provider; (3) during the

   appropriate service period; and (4) is documented in a medical record.

          7.     Defendants are engaged in systematic fraud in which they routinely:

                 (a)     submit risk adjustment claims for diagnoses that the
                 member either does not have or for which the member was
                 not treated in the relevant year;
                 (b)     upcode diagnosis codes, claiming that a member
                 was treated for a more serious condition than the member
                 actually has; and
                 (c)     refuse to correct previously submitted risk
                 adjustment claims when defendants discover, or in the
                 exercise of reasonable care should discover, that those
                 previously submitted claims were false.




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          8.      Among the fraudulent acts described herein, defendant UnitedHealth

   Group, Inc. submits diagnosis claims to CMS using a data system (IRADS) that it knows

   (within the meaning of the FCA) cannot properly screen for ineligible diagnoses and

   allows the submission of tens or hundreds of thousands of false diagnosis codes.

   Defendants similarly undertake “chart reviews” where they selectively review hundreds

   of thousands of medical charts annually for additional diagnosis codes (i.e., codes not

   submitted in the ordinary course of business) that increase their risk scores. These “chart

   reviews” are rigged to only look for incremental (new) diagnosis codes to submit to CMS

   and thus to only increase risk scores. Although the chart reviewers routinely provide

   defendants with information indicating that diagnoses defendants sent to CMS previously

   were false or unsubstantiated, defendants intentionally do not match the reviewers’

   information against their previous submissions to CMS or otherwise use this information

   to correct the risk adjustment claims previously submitted to CMS.

          9.      Through this fraudulent scheme, defendants have defrauded the United

   States of hundreds of millions—and likely billions—of dollars.

          10.     Defendant’s conduct alleged herein violates the federal False Claims Act.

   The federal False Claims Act (the “FCA”) was originally enacted during the Civil War.

   Congress substantially amended the Act in 1986—and, again, in 2009 and 2010—to

   enhance the ability of the United States Government to recover losses sustained as a

   result of fraud against it. The Act was amended after Congress found that fraud in

   federal programs was pervasive and that the Act, which Congress characterized as the

   primary tool for combating government fraud, was in need of modernization. Congress

   intended that the amendments would create incentives for individuals with knowledge of




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   fraud against the Government to disclose the information without fear of reprisals or

   Government inaction, and to encourage the private bar to commit legal resources to

   prosecuting fraud on the Government's behalf.

           11.     The FCA prohibits, inter alia: (a) knowingly presenting (or causing to be

   presented) to the federal government a false or fraudulent claim for payment or approval;

   (b) knowingly making or using, or causing to be made or used, a false or fraudulent

   record or statement material to a false or fraudulent claim; (c) knowingly making, using,

   or causing to be made or used, a false record or statement material to an obligation to pay

   or transmit money or property to the Government, or knowingly concealing or knowingly

   and improperly avoiding or decreasing an obligation to pay or transmit money or

   property to the Government; and (d) conspiring to violate any of these three sections of

   the FCA. 31 U.S.C. §§3729(a)(1)(A)-(C), and (G). Any person who violates the FCA is

   liable for a civil penalty of up to $11,000 for each violation, plus three times the amount

   of the damages sustained by the United States. 31 U.S.C. §3729(a)(1).

           12.     For purposes of the FCA, a person “knows” a claim is false if that person:

   “(i) has actual knowledge of [the falsity of] the information; (ii) acts in deliberate

   ignorance of the truth or falsity of the information; or (iii) acts in reckless disregard of the

   truth or falsity of the information.” 31 U.S.C. §3729(b)(1). The FCA does not require

   proof that the defendants specifically intended to commit fraud. Id. Unless otherwise

   indicated, whenever the words “know,” “learn,” discover” or similar words indicating

   knowledge are used in this Complaint, they mean knowledge as defined in the FCA.

           13.     Each claim for risk adjustment payments that defendants have submitted

   to CMS, where the patient was not treated, by a qualified provider, for that condition in




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   the year in question is a false and/or fraudulent claim within the meaning of the FCA, so

   long as defendant knew that the claim was false when it was submitted, or the defendant

   later discovered its falsity and refused to correct the claim.

          14.     The FCA allows any person having information about an FCA violation to

   bring an action on behalf of the United States, and to share in any recovery. The FCA

   requires that the Complaint be filed under seal for a minimum of 60 days (without service

   on the defendant during that time) to allow the government time to conduct its own

   investigation and to determine whether to join the suit.

          15.     Based on the foregoing laws, qui tam plaintiff Benjamin Poehling seeks,

   through this action, to recover damages and civil penalties arising from the false or

   fraudulent records, statements and/or claims that the Defendants made or caused to be

   made in connection with false and/or fraudulent claims for Medicare Advantage risk

   adjustment payments.

   II.    PARTIES

          16.     Relator Benjamin Poehling is Director of Finance for UnitedHealthcare

   Medicare & Retirement (“UHMR”), a subsidiary of UnitedHealth Group (“UHG”). (This

   Complaint refers to UHG and its subsidiaries and affiliates collectively as “UHG” or

   “United.”)   Prior to the fall of 2010, UHMR was known as Ovations, Inc. (unless

   otherwise specified, this Complaint refers to Ovations, Inc. as UHMR when it is

   discussed as distinct from United).

          17.     Relator joined United in 2002 from Arthur Anderson, where he had

   participated in consulting engagements for UHG. In mid-2002, Relator joined United

   subsidiary Ingenix, Inc. (“Ingenix”) in New Jersey. Relator transferred to UHMR in

   2004, relocating to Minnesota. At UHMR, Relator has held a variety of positions within


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   the Finance Department. When United’s risk adjustment services were moved to Ingenix

   in mid-2007, Relator was assigned to be UHMR’s day-to-day liaison with the risk

   adjustment segment at Ingenix.       In this new position, Relator is responsible for

   coordinating with Ingenix to provide UHMR with risk adjustment services, described in

   depth below.    The scope and workload of the assignment grew from a part-time

   responsibility (shared with his other duties) until Relator was working full-time with

   Ingenix on risk adjustment.       During this period, risk adjustment was becoming

   increasingly more important to UHG’s revenue, and attracted increasing attention from

   UHG’s and UHMR’s senior management.

          18.     The United States, on whose behalf Relator brings this suit, is the real

   party in interest. The United States has ongoing contracts with defendants through the

   Centers for Medicare & Medicaid Services (“CMS”) of the United States Department of

   Health and Human Services, in accordance with defendants’ participation in the Medicare

   and Medicaid programs.

          19.     Defendant UnitedHealth Group Inc. (“UHG”) is a Minnesota corporation

   headquartered in Minnetonka, Minnesota. For purposes of this Complaint, defendant

   UHG includes all subsidiaries and affiliates that do business with the United States,

   including without limitation UHMR (formerly Ovations), UnitedHealthcare Community

   & State (“UHCS” and formerly AmeriChoice), Ingenix, and all UHG entities holding

   Medicare Advantage contracts with CMS during the period discussed infra, a partial list

   of which is incorporated herein as Exhibit 1.

          20.     UHG is the parent corporation for a large number of businesses within two

   basic market areas—health benefits and health services.       United’s health benefits




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   business covers health insurance benefits in both public and private markets. United’s

   managed care company for the private sector is UnitedHealthcare Employer & Individual

   (“UHEI”).    United’s managed care companies for the public sector—Medicare and

   Medicaid—are UHMR and UHCS. Together, UHMR and UHCS form United’s Public

   & Senior Markets Group (“PSMG”). The health services business, meanwhile, offers

   various services to consumers and the health care industry, including United’s health

   benefits companies.    The principal companies within health services are Ingenix

   (discussed below), which provides data services and consulting, OptumHealth, which

   provides a variety of specialty and ancillary services (such as dental and chiropractic

   benefits), and Prescription Solutions, a pharmacy benefits manager.      UHG reports

   revenue in four segments: (a) Health Benefits (UHEI, UHMR, and UHCS); (b)

   OptumHealth; (c) Ingenix; and (d) Prescription Solutions.

          21.      United—through its UHMR and UHCS subsidiaries—is the largest

   provider of health insurance coverage for Medicare beneficiaries pursuant to MA

   contracts with CMS. United operates MA plans in all fifty states and the District of

   Columbia.    These MA plans covered approximately 2.1 million enrolled Medicare

   beneficiaries as of December 31, 2010. United is also the largest provider of Medicare

   Part D plans.    It additionally offers Medicare supplemental and hospital indemnity

   insurance plans, as well as various care services.      United’s revenue from UHMR

   (including the bulk of its Medicare Advantage business) was $32.1 billion in 2009 and

   $35.9 billion in 2010. This business segment accounted for 37% of UHG’s total revenue

   in 2009 and 2010.




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           22.     United’s Ingenix subsidiary offers data and consulting services to United

    companies as well as other insurance companies, hospitals, physicians, and others.

    Ingenix’s revenues were $1.8 billion in 2009 and $2.3 billion in 2010. Historically, risk

    adjustment services were provided to UHMR through a team located within the UHMR

    business unit. In 2007, United moved its risk adjustment services group, or Clinical

    Assessment Solutions (“CAS”), to Ingenix. (CAS has changed titles several times. It has

    also operated as Advanced Clinical Solutions (“ACS”), Clinical Performance Solutions

    (“CPS”), and, currently, Clinical Performance & Compliance (“CPC”).)

           23.     Defendant WellMed Medical Management, Inc. (“WellMed”) is a Texas

    corporation headquartered in San Antonio, Texas. WellMed provides healthcare benefits

    for United’s Medicare members in certain regions pursuant to a capitation agreement

    with UHMR. Recently, United acquired several components of WellMed.

           24.     Defendant Health Net, Inc. (“Health Net”) is a Delaware corporation

    headquartered in Woodland Hills, California. Health Net operates MA plans pursuant to

    contracts with CMS. United holds a contract with Health Net whereby United submits

    Health Net’s risk adjustment data to CMS and performs additional risk adjustment

    services, including chart reviews, as described below.

           25.     Defendant Arcadian Management Services, Inc. (“Arcadian”) is a

    Delaware corporation headquartered in Oakland, California. Arcadian operates MA plans

    pursuant to contracts with CMS. United holds a contract with Arcadian whereby United

    submits Arcadian’s risk adjustment data to CMS and performs additional risk adjustment

    services, including chart reviews, as described below.




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           26.     Defendant Tufts Associated Health Plans, Inc. (“Tufts”) is a Delaware

    corporation headquartered in Waltham, Massachusetts. Tufts operates MA plans pursuant

    to contracts with CMS. United holds a contract with Tufts whereby United submits

    Tufts’ risk adjustment data to CMS and performs additional risk adjustment services,

    including chart reviews, as described below.

    III.   JURISDICTION & VENUE

           27.     This Court has jurisdiction over the subject matter of this action pursuant

    to 28 U.S.C. § 1331 and 31 U.S.C. § 3732(a), which specifically confers jurisdiction on

    this Court for actions brought under 31 U.S.C. § 3730.

           28.     This Court has personal jurisdiction over the Defendants, pursuant to 31

    U.S.C. § 3732(a), as one or more Defendants can be found in, reside in, transact business

    in, and have committed acts related to the allegations in this Complaint in the Western

    District of New York. For example, United’s SecureHorizons Medicare Advantage plan

    operates in the Western District of New York.

           29.     Venue is proper, pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. §

    1391(b)–(c), as the Defendants can be found in, reside in, and/or transact business in the

    Western District of New York, and because many of the violations of 31 U.S.C. § 3729

    discussed herein occurred within this judicial district.

    IV.    LEGAL BACKGROUND

           30.     Medicare is a federally-funded health care program primarily serving

    people age 65 or older. Initially created in Title XVIII of the Social Security Act of

    1965, Medicare now has four Parts, A through D. The two original components of

    Medicare are Part A, which covers inpatient hospital costs and related services, and Part

    B, which covers outpatient health care costs, such as physicians’ fees. Medicare Part D


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    was created by the Medicare Prescription Drug, Improvement, and Modernization Act

    established in 2003 (“MMA”), and covers prescription drugs.

           31.     Traditionally, Medicare operates on a fee-for-service basis, meaning that

    Medicare directly pays hospitals, physicians and other health care providers for each

    service they provide to a Medicare beneficiary. Medicare beneficiaries are generally

    required to pay some portion of many of these services in the form of copayments,

    deductibles, coinsurance, or other set fees (collectively known as the members’ “out of

    pocket” expenses).

           32.     In 1997, Congress created Medicare Part C, which provides similar

    benefits to Medicare members, but does so based on a managed care model, rather than

    the traditional fee-for-service model. Under Part C, rather than pay providers directly,

    Medicare pays private managed care plans (later named “Medicare Advantage” or “MA”

    plans) a capitation rate (per member per month) and those plans are responsible for

    paying providers for the services they provide to members of that specific MA plan.

           33.     MA plans must provide Medicare beneficiaries benefits at least equivalent

    to those they would have received under the traditional Medicare Parts A and B.

    Depending on the structure of the plan, MA plans may also provide additional benefits

    beyond what traditional Medicare would have covered, such as dental care, or cover

    some or all of their members’ out of pocket expenses associated with basic Medicare

    Parts A and B services or Part D prescription drugs.

           A.      Calculation of MA Plan Capitation Rates

           34.     The capitation rates Medicare pays to MA plans are determined based on a

    process involving consideration of past and expected future medical expenses, the

    location of the plan’s actual and expected members, the health status and demographics


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    of those members and whether the plan will include any additional benefits. That process

    is summarized in Medicare regulations as follows:

                   In short, under the bidding methodology each plan’s bid for
                   coverage of Part A and Part B benefits (i.e., its revenue
                   requirements for offering original Medicare benefits) is
                   compared to the plan benchmark (i.e., the upper limit of
                   CMS’ payment, developed from the county capitation rates
                   in the local plan’s service area or from the MA regional
                   benchmarks for regional plans). The purpose of the bid-
                   benchmark comparison is to determine whether the plan
                   must offer supplemental benefits or must charge a basic
                   beneficiary premium for A/B benefits.

    Medicare Managed Care Manual (“MMCM”), ch. 8, § 60.

           35.     In other words, it is a three-step process involving: (a) development of the

    MA plan’s bid rate; (b) review of the CMS benchmark rate; and (c) comparison of those

    two rates to develop the base capitation rate and determine whether any adjustments in

    the plan benefits or member premiums are required.

           36.     First, the MA plan develops a bid rate. This rate is the amount that the

    MA plan expects it will be required to pay to provide Medicare Parts A and B benefits to

    a hypothetical average member of the plan. This estimate must be based on either the

    MA plan’s prior experience covering Medicare members, or an actuarially validated data

    analysis of expected costs. To represent an “average” plan member, the bid rate must

    make adjustments to standardize the effect of expected geographic diversity (because

    some areas are more expensive than others) and the relative health status (i.e., the number

    and nature of chronic conditions) of the members whose claims experience provided the

    basis for the bid. The bid rate also includes an amount that the MA plan expects to spend

    on administrative costs, and a profit margin.




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           37.     The mechanism for standardizing the bid for individuals’ demographic

    factors and health status is known as the “risk score.” It is an artificial score that CMS

    assigns to every beneficiary. CMS starts with a score of zero, and then adds points for

    the beneficiary’s demographic condition (such as age and gender) and individual disease

    states (such as diabetes or congestive heart failure). The average risk score is one, with

    most Medicare beneficiaries having scores under three. The risk score model is designed

    so that a population with an average risk score of two would be expected to use twice as

    much health care (in dollars) as a population with a score of one. The bid rate the MA

    plans develop must reflect the amount they will require to provide services to a

    hypothetical population with a risk score of one.

           38.     Second, the MA plan must review the Medicare benchmark rate provided

    by CMS. This rate is provided by CMS and is the amount that the Medicare program

    would spend to provide Parts A and B benefits to an average member in the geographic

    area covered by the MA plan’s bid. The benchmark rate also includes several other

    adjustments, including until recently a bonus payment to incentivize health insurance

    companies to enter the MA market.

           39.     Third, the bid rate and the benchmark rate are compared to determine

    whether the MA plan must charge its members a premium, or, instead, if it must offer

    them enhanced benefits. If the bid rate is greater than the benchmark rate, Medicare will

    only pay the MA plan the benchmark rate per member per month. That benchmark rate

    becomes the base capitation rate that CMS pays the MA plan for a member with a 1.0

    risk score (described below). The MA plan must then charge the beneficiaries who join




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    its plan a monthly premium in order to make up the shortfall between the bid rate and the

    base capitation rate. See MMCM, ch. 8, § 60.1.

              40.   If, on the other hand, the bid rate is less than the benchmark rate, then the

    bid rate becomes the base capitation rate. The difference between the benchmark rate

    and the bid rate is then split between the MA plan and the Medicare program. The first

    25% of the difference is retained by the Medicare program as plan savings.              The

    remaining 75% is returned to the MA plan, which must use the rebate to either provide

    enhanced benefits to its plan members or to cover the members’ out of pocket expenses.

    In the end, then, in such situations, the base capitation rate equals the bid rate, plus the

    MA plan receives 75% of the difference between the bid rate and the benchmark rate.

              41.   Medicare does not, however, pay the plans the base capitation rate.

    Instead, when payments are actually made, the base capitation rate is adjusted, for each

    member, to reflect his or her actual age, gender, location, and, most important, health

    status.

              42.   MA plans must rebid their rates every year.

              B.    Risk Adjustment Depends on Accurate, Substantiated Health
                    Condition Codes

              43.   As described above, CMS pays MA plans at a capitation rate that reflects,

    among other things, each member’s health status. The process of adjusting the capitation

    rate to reflect a member’s disease states is known as risk adjustment. Risk adjustment is

    intended to improve the accuracy of the payments CMS makes to MA plans. To this end,

    CMS pays a higher future premium for enrollees whom the MA plan represents have

    been treated for certain diseases and conditions in the current year, based on the

    expectation that those enrollees will require treatment and/or management for the



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    conditions in the following year. See 2008 Risk Adjustment Training for Medicare

    Advantage Organizations Participant Guide (“Participant Guide”), at 6.4.1 (for purposes

    of this Complaint, “treatment” is defined as treatment and management within the

    meaning of the Participant Guide).

           44.     Conversely, CMS pays a lower premium for enrollees who, although they

    may have certain typically expensive conditions, did not require care, treatment or

    management for those conditions in the current year.          For these patients, the risk

    adjustment methodology assumes that because their condition did not require treatment in

    the current year, it has improved or otherwise changed so that it is not expected to require

    treatment in the following year.

           45.     As a practical matter, the CMS risk adjustment model evaluates enrollee

    health (and establishes risk adjustment payment rates) using diagnosis classifications set

    forth in the International Classification of Diseases, 9th Edition, Clinical Modification

    (“ICD-9-CM”) system. The ICD-9 system assigns each diagnosis a specific code. These

    individual diagnosis codes are then organized into groups, called Hierarchical Condition

    Categories (“HCCs”). MMCM, ch. 8, § 50. Every HCC consists of several ICD-9-CM

    diagnosis codes that are clinically related and are expected to require a similar level of

    resources to treat. Id. For example, there are five HCCs for patients with diabetes: HCC

    15 (diabetes with renal or vascular manifestation); HCC 16 (Diabetes with Neurologic or

    Other Specified Manifestation); HCC 17 (Diabetes with Acute Complications); HCC 18

    (Diabetes with Ophthalmologic or Unspecified Manifestation); and HCC 19 (Diabetes

    without Complication). Generally speaking, patients grouped in HCC 15 have the most

    serious type of diabetes, and are expected to cost the most to treat. Patients in HCC 19




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    have the least cost-intensive type of diabetes, and therefore the CMS risk adjustment

    system provides a smaller enhanced payment for these patients.

           46.     An individual ICD-9-CM code included in the HCC system for a

    particular member corresponds on average to nearly $3,000 in extra revenue for the plan

    over the course of the following year for that member. So, for example, if a MA plan like

    United with 2.1 million members submitted just one incremental HCC-based diagnosis

    code per member to CMS, it would result in approximately $6.3 billion in additional

    capitation payments from CMS.

           47.     Because submitting incorrect diagnosis codes increases risk adjustment

    payments, CMS requires MA plans to follow strict guidelines when submitting codes.

    See, e.g., 2008 Risk Adjustment Training for Medicare Advantage Organizations

    Participant Guide.

           48.     CMS requires that the patient must have been treated for the relevant

    diagnoses during a face-to-face encounter with an eligible provider, such as a physician,

    physician extender, or hospital, during the year in question.

           49.     Only services provided by an eligible provider type may be included.

    CMS expressly prohibits MA plans from submitting “risk adjustment diagnoses based on

    any diagnostic radiology services” or laboratory services. Participant Guide, at 3.2.2, 4-

    3. The reason CMS prohibits MA plans from submitting codes based on radiology

    charts, for example, is that “[d]iagnostic radiologists typically do not document confirmed

    diagnoses. Confirmed diagnoses come from referring physician or physician extenders.”

    Id., at 4-3 (emphasis added). Because radiologists generally list on their charts the

    diagnoses a doctor wants them to look for, not which diagnoses the patient actually has,




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    CMS excludes radiology services as a valid provider type (i.e., source of risk adjustment

    data).

             50.    The treating provider must document the facts supporting the coded

    diagnosis in the patient’s medical record and sign and date the record. At a minimum, the

    plan must record five elements for submission to CMS:

                   (a) the member’s Health Insurance Claim (“HIC”) number;
                   (b) the ICD-9-CM diagnosis code;
                   (c) the “service from” date;
                   (d) the “service through” date; and
                   (e) the provider type.
             51.   MA plans are responsible for the content of risk adjustment data

    submissions to CMS, regardless of whether they submit the data themselves or through

    an intermediary. Participant Guide, at 3-13.     Before submitting data to CMS, MA plans

    are required to filter the data “to ensure that they submit data from only appropriate data

    sources.” Participant Guide, at 4-11. For example, filters should include checking that

    physician data comes from face-to-face encounters with patients and ensuring that data

    does not come from non-covered providers, such as diagnostic radiology services.

             52.   MA plans must also filter the data to ensure that only diagnoses treated

    through approved procedure types are included. Id. at 4-11. MA organizations typically

    classify professional (e.g., physician) procedures using Current Procedural Terminology

    (“CPT”) codes and institutional procedures using revenue codes. These codes show

    whether the type of service in question was a face-to-face procedure such as a physical

    examination, or a non-qualifying remote procedure, such as a laboratory test or radiology

    exam.

             53.   MA plans are required to correct the risk adjustment data they submit to

    CMS. When the MA plan learns that information in a risk adjustment claim (i.e., HIC



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    number, diagnosis code, service dates, and provider type) contains an error, it must

    submit a “delete record” to CMS for that claim.

           54.     CMS also requires that diagnosis codes used as the basis for a risk

    adjustment claim be substantiated through documentation in a medical record. Upon

    request by CMS, MA plans must provide documentation to support each diagnosis and

    substantiate that the provider followed proper coding guidelines. Id. at 6-5; 5-52.

           55.     In general, CMS sets risk scores based on risk adjustment data submitted

    for services provided during the year preceding the payment year.               42 C.F.R.

    § 422.310(g). The annual deadline for submitting risk adjustment data to CMS is in early

    September. Id. The data submitted by the September deadline determines members’

    preliminary risk scores for the following year.

           56.     Despite the September deadline, CMS accepts submissions of risk

    adjustment data for a period after the end of service year and, through a reconciliation

    process, adjusts its payments to the MA plan retroactively to account for codes submitted

    after the September deadline. MA plans are allowed to submit risk adjustment data until

    after the end of the payment year. After the payment year ends, CMS recalculates the

    risk score for any members for whom the MA plan made a retroactive submission.

           57.     Thus, for example, the capitation rates for 2010 are based on the MA

    plans’ members’ health status (diagnosis codes) from 2009.         The initial submission

    deadline for the 2009 diagnosis codes was September 4, 2009 and the final submission

    deadline was January 31, 2011. Thus, CMS calculated members’ initial risk factors for

    2010 based on the September 4, 2009 data, but MA plans have been allowed to continue

    to submit 2009 diagnoses until January 31, 2011. After that date, for every member with




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    a newly-submitted diagnosis, CMS recalculated the risk score and reconciled the

    member’s payments in 2010 with the amount it would have paid at the new score.

            58.    To test the validity of MA plan risk adjustment data, CMS conducts Risk

    Adjustment Data Validation (“RADV”) audits after the MA plan’s final deadline for

    submitting risk adjustment data for the payment year.          During such audits, CMS

    “validates” some of the MA plan’s CMS—HCC scores by reviewing the medical records

    that the plan contends support the claimed diagnosis codes. Id. at 7-1. To facilitate the

    RADV audits, MA plans are required to submit to CMS medical records and coversheets

    for each sampled enrollee, including the “one best medical record” supporting each HCC.

    Id. at 7-9.

            59.    Historically, CMS has not extrapolated RADV audit results to the MA

    plan as a whole. (CMS has recently proposed moving toward extrapolation of RADV

    results.) Instead, CMS has merely sought repayment for those risk adjustment claims

    found to be false during the RADV audit.          Because RADV audits generally used

    relatively small samples—a few hundred risk adjustment claims—the potential risk to

    MA plans, should they be found to have submitted false risk adjustment claims, was

    relatively small.   Without meaningful financial penalties, MA organizations have

    generally seen little incentive to conform to CMS’s risk adjustment rules. The fraudulent

    practices described in this Complaint are a product of the belief, common among MA

    organizations, that the law could be violated without meaningful consequence.

            C.     CMS Requires MA Plans To Certify the Validity of Their Bid Rates
                   and Risk Adjustment Data To Prevent Fraud

            60.    In recognition of the fact that the integrity of the capitation rates depends

    on the integrity of the actuarial information used by the MA plans in developing their bid



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    rates, and to otherwise guard against fraud, CMS requires MA organizations to submit

    three separate attestations, each signed by the CEO or CFO (or their authorized, direct

    subordinate). These attestations are a condition that the MA plans must meet to be

    eligible to receive any capitation payments from CMS.

           61.     The first attestation, which the MA organization submits on a monthly

    basis, requires the MA organization to “attest based on best knowledge, information, and

    belief that each enrollee for whom the MA Organization is requesting payment is validly

    enrolled, or was validly enrolled during the period for which payment is requested, in an

    MA plan offered by the MA Organization.”

           62.     The second attestation, which is submitted annually, requires the MA

    organization to attest that the risk adjustment data it submits annually to CMS is

    “accurate, complete, and truthful.” The attestation acknowledges that risk adjustment

    information “directly affects the calculation of CMS payments . . . and that

    misrepresentations to CMS about the accuracy of such information may result in Federal

    civil action and/or criminal prosecution.”

           63.     The third attestation is the MA organization’s certification “that the

    information and documentation comprising the bid submission proposal is accurate,

    complete, and truthful and fully conforms to the Bid Form and Plan Benefit Package

    requirements; and that the benefits described in the CMS-approved proposal bid

    submission agree with the benefit package the MA Organization will offer during the

    period covered by the proposal bid submission.”

           D.      The False Claims Act Contains a Duty to Correct Known Errors

           64.     The False Claims Act contains an independent requirement to correct

    errors that will cause, or have caused, a government overpayment. The Act attaches


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    liability to anyone who knowingly makes, uses, or causes to be made or used, a false

    statement or record material to an obligation to pay or transmit money to the government,

    or who knowingly conceals or knowingly and improperly avoids or decreases an

    obligation to pay or transmit money to the government. 31 U.S.C. § 3729(a)(1)(G).

           65.     Accordingly, MA plans not only have a duty not to submit incorrect data

    to CMS, but also, for data they have already submitted, must delete the records from

    CMS’s database using a “delete code.”

    V.     BACKGROUND

           66.     United is the largest provider of MA plans nationwide, covering benefits

    under Medicare Part C in all fifty states and in most U.S. territories. United had 2.1

    million individuals enrolled in its MA plans at the end of 2010. The MA plans are

    operated by UHMR and UHCS and offered to Medicare beneficiaries under such brand

    names as SecureHorizons, AmeriChoice, and Evercare.

           67.     United has expanded rapidly since its founding in 1977. The company’s

    growth in recent years has been driven by acquisitions, nowhere more so than in its

    Medicare business. These acquisitions included the 2004 purchase of Oxford Health

    Plans, the 2005 acquisition of PacifiCare Health Systems, and the 2007 acquisition of

    Sierra Health Services, Inc.

           68.     Recently, United has also been expanding vertically by acquiring provider

    groups who care for many of the patients in United’s MA plans. Foremost among these

    purchases was the 2011 purchase of WellMed, a large physician-owned practice

    management company located primarily in Texas.

           69.     United has organized its businesses into two primary segments: health

    plans and health services, as described above. See ¶¶20–22. Within the health services


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    segment, Ingenix provides risk adjustment services (and other services) to United’s MA

    plans and also sells those same services commercially to other MA plans.

           70.     Ingenix submits diagnosis codes for risk adjustment to CMS on behalf of

    UHMR and UHCS as well as on behalf of commercial clients including Health Net,

    Arcadian, and Tufts. United relocated its risk adjustment team from UHMR to Ingenix to

    enable these commercial deals, as well as to allow UHMR and UHCS to charge their risk

    adjustment costs with markups to CMS on their annual bids.

           71.     At every level, United is driven by a corporate culture that demands and

    rewards financial success from its employees. The risk adjustment practices described in

    this Complaint are attributable in large part to these demands and rewards.         As to

    demands, United evaluated many of its employees, including Relator, until recently on

    their success at “maximizing revenue” by increasing risk scores. United gave Relator as

    well as clinical staff specific goals for increasing risk scores. Relator’s March 30, 2008

    review, for example, evaluated him against United’s “business goal” of increasing risk

    scores by 3%. There were no similar performance goals for the overall accuracy of risk

    adjustment submissions. Nor was there any accountability assigned for reducing the

    number of false claims submitted to CMS.

           72.     For rewards, United tied its performance incentives directly to risk score

    increases. These incentives have been at the center of United’s risk adjustment practices.

    Relator, for example, received a $15,000 bonus in 2010 for his work to meet UHMR’s

    target of $100 million in additional internal operating income (“IOI”) from risk

    adjustment payments. His bonus, however, paled in comparison to the incentives offered

    to those higher up in the company. UHG Executive Vice President (and former CEO of




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    UHMR) Larry Renfro received a compensation package in 2010 that included a potential

    bonus, called a “cash incentive award,” which tied his earnings to revenue, IOI, and

    provider satisfaction. Increasing risk scores met all three objectives. Mr. Renfro’s 2010

    cash incentive award was $900,000—150% of his bonus target.

           73.     During Mr. Renfro’s term as UHMR’s CEO, UHMR set revenue and IOI

    targets based on risk adjustment and entered into agreements with providers that offered

    financial rewards for increasing risk scores. As discussed below, many of the policies

    and practices United used to achieve these goals were fraudulent. Despite misgivings

    expressed by various United personnel, however, United took no action to stop its

    misconduct. Lack of independence contributed to the problem. For example, PSMG’s

    Chief Compliance Officer, David Orbuch, reported not to the Board of Directors, but to

    Mr. Renfro.

           74.     United aligned the incentives of its entities, staff, and vendors to increase

    risk scores. Ingenix had an incentive to increase the number of risk adjustment claims

    (based on incremental/newly-found diagnosis codes) it submitted to CMS for payment

    under the terms of its Service Level Agreement with UHMR. The Agreement provided

    for base payments plus a significant “incentive fee” tied to risk score increases. Exhibit

    2, incorporated herein.

           75.     In 2009, United changed to a more fixed-fee arrangement with Ingenix.

    Ingenix, however, continues to receive incentive fees based on risk score increases from

    its commercial clients, specifically Health Net.

           76.     In addition, the managers responsible for Ingenix’s risk adjustment

    program (now called CPC), including Jeff Dumcum, Paul Bihm, and Stephanie Will, had




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    employment agreements with United that included financial incentives based on

    increased risk scores. Furthermore, United gave incentives to its healthcare providers and

    vendors. As described below, for example, United (PacifiCare at the time) entered into

    an agreement with WellMed, such that WellMed’s data subsidiary, DataRap, would

    provide risk adjustment services for a subset of United’s MA plan in Dallas, Texas. The

    agreement paid WellMed a fee based almost entirely on the increase in United’s risk

    score year over year.

           77.      United’s senior management push relentlessly to increase United’s

    revenue from risk adjustment. Tellingly, UHMR has assigned risk adjustment to its

    Finance Department, not one of its clinical departments. (Relator was assigned to his job

    despite having no clinical background.) In 2010 and 2011, UHMR has implemented

    projects referred to as “remediation plans”, “focus area projects,” or “affordability

    agendas” to increase internal operating income (“IOI”).

           78.      The remediation plan for 2010 called for $800 million in additional IOI,

    $100 million of which was to come from increased risk adjustment revenue. In 2011, the

    additional IOI target from risk adjustment rose to approximately $125 million.

           79.      While speaking at the Citi 2011 Global Healthcare Investor conference on

    March 2, 2011, UHMR’s CEO, Tom Paul, commented that United’s 2010 affordability

    agenda allowed United to not raise premiums or cut benefits, while still achieving

    business objectives. He went on to say the affordability agenda will continue in 2011 and

    beyond.      These remediation plans are merely United’s latest effort to exploit risk

    adjustment’s large revenue potential. As described below, United has engaged in a

    course of conduct since at least 2006 to maximize its risk adjustment payments from




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    CMS. For much of the past decade, United’s attitude may be summarized by an email

    from former UHMR CFO Jerry Knutson to Ingenix’s Jeff Dumcum:

                   Wanted to get together with you and discuss what we can
                   do in the short term and long term to really go after the
                   potential risk scoring you have consistently indicated is out
                   there. . . . You mentioned vasculatory disease opportunities,
                   screening opportunities, etc with huge $ opportunities. Lets
                   turn on the gas!

    Exhibit 3, incorporated herein.

    VI.    UNITED’S FRAUD AGAINST THE UNITED STATES

           80.     As outlined below, since at least 2005, United and the other defendants

    have engaged in a deliberate scheme to defraud the United States by submitting tens or

    hundreds of thousands of false claims for risk adjustment payments.            Defendants

    submitted these false claims even though they knew that the patients upon whom the

    claims were based did not have the claimed diagnoses, had not been treated for those

    diagnoses in that year, or were otherwise ineligible for risk adjustment payments under

    CMS rules.

           81.     Defendants’ knowledge of the falsity of these claims runs the full gamut of

    culpable mens rea covered by the False Claims Act.

           82.     In some cases, United had actual knowledge that the members in question

    had not been treated for a given diagnosis—yet defendants nonetheless submitted a risk

    adjustment claim to CMS based on that diagnosis. For example, United’s Fraud and

    Abuse department identifies fraudulent claims for services that had not actually been

    provided (e.g., claims that a patient had been treated with an expensive therapy for cancer

    when the patient did not have cancer), and recovered the payments in question from the




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    providers. However, United deliberately refused to use this information to delete any risk

    adjustment claims that had been submitted based on that fraudulent claims data.

            83.        In other cases, although United takes aggressive steps to try to find any

    “incremental” diagnosis codes—situations where a member was treated for a diagnosis

    that could have been the basis for a risk adjustment claim, but was not coded properly by

    the physician—it largely pursues a strategy of deliberate ignorance with regard to finding

    potential “delete” codes—situations where a claim was submitted based on provider

    claims data that incorrectly stated a patient was treated for a given diagnosis.

            84.        Additionally, defendants were on notice that certain individual risk

    adjustment claims or certain classes of claims were potentially or likely false. Acting in

    reckless disregard of the potential falsity of those claims, defendants submitted them

    without attempting to ensure their accuracy. For example, United knows that the system

    it uses to submit risk adjustment claims to CMS is fundamentally flawed in ways that

    cause it to submit false claims to CMS. These flaws in the system produce fraudulently

    upcoded claims. Yet, defendants have continued to use this flawed system to submit their

    risk adjustment claims.

            85.        Defendants have also paid kickbacks to physicians and other providers to

    get those providers to upcode the diagnosis codes on their claims, and thus increase

    defendants’ risk adjustment claims.

            86.        Moreover, in many cases, United knows that certain provider groups are

    submitting false and invalid data concerning the diagnoses for which patients were

    treated, yet Defendants submit and/or accept payment for risk adjustment claims based on

    that false data.




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           87.     Finally, United’s Ingenix subsidiary submits, conspires to submit, and/or

    causes the submission of false and fraudulent risk adjustment claims for other MA plans

    who contract with Ingenix for risk adjustment analysis and other services.

           88.     In this manner, defendants have fraudulently caused CMS to pay tens or

    hundreds of thousands of false claims for risk adjustment payments worth hundreds of

    millions of dollars.

           A.      United Submits Claims to CMS for Diagnoses Taken From Claims
                   That It Itself Refuses to Pay as Being Fraudulent and/or Abusive

           89.     Through its fraud and abuse department, regular claims processing efforts,

    and some of the other initiatives discussed in greater detail below, United routinely learns

    that the claims data that was used as the basis for certain risk adjustment claims is

    erroneous. Nonetheless, defendants routinely submit risk adjustment claims—or fail to

    correct previously submitted claims—in purported reliance on that false data.

           90.     Like most insurance companies, United contains a Fraud and Abuse

    Prevention Unit (“F&A”) in Ingenix that is responsible for identifying and resolving

    fraudulent claims. F&A mines claims data for anomalies that suggest a fraudulent claim.

    For example, if F&A looks for claims for drugs that were not truly administered to

    patients, such as patients who supposedly received cancer drugs despite not having a

    cancer diagnosis. If and when F&A identifies a claim that it considers sufficiently false

    to be fraudulent, it takes action against the provider who submitted the claim, either by

    denying the claim or demanding reimbursement.

           91.     Ingenix, however, refuses to use this information to correct its risk

    adjustment database or claims submissions. Ingenix’s F&A unit does not report the

    fraudulent claim to Ingenix’s Clinical Assessment Solutions (“CAS”) group; thus the



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    CAS group cannot block submission of the claim’s diagnosis codes to CMS or delete

    HCCs it already submitted due to the claim.

           92.     Ingenix knows that CAS is submitting fraudulent codes to CMS because it

    cannot interact with F&A, but has chosen not to fix the problem. Beginning as late as

    2009, Ingenix explored improving the coordination between CAS and F&A as a way to

    increase coding accuracy. Dr. Maninder Khalsa of CAS stated in May 2009 that “[w]e

    have reached out to the INGENIX Fraud and Abuse Prevention Unit in an effort to

    coordinate our areas of expertise and collaborate where possible.” During that time and

    subsequently, Relator recommended to Ingenix that it must coordinate CAS and F&A to

    prevent the submission of fraudulent codes. He voiced these same concerns to his

    superior at UHMR, Scott Theisen. Ingenix, however, has refused to fix the problem.

           93.     United’s submission of fraudulent codes reflects its broader failure to

    coordinate its claims processing system with IRADS (the system it uses to process and

    submit risk adjustment claims), as discussed below. Specifically, when a claim is denied,

    United deliberately refuses to check whether the denial affects the validity of risk

    adjustment claims, i.e., whether it compels United to delete any diagnosis codes.

           94.     There are similar problems with other programs and initiatives at United.

    As described below, in other situations, United learns through chart review initiatives or

    other programs that certain claims data or other sources of diagnosis codes used in risk

    adjustment claims are false. United deliberately refuses to delete those false diagnosis

    codes from its risk adjustment claims systems, and refuses to correct previously

    submitted risk adjustment claims that were based on those false diagnosis codes.

           B.      United Aggressively Seeks To Correct Claims Errors That Reduce Its
                   Risk Adjustment Payments—While Aggressively Attempting to



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                    Remain Ignorant of Errors That Improperly Inflate Its Risk
                    Adjustment Payments

             95.    United knows that much of the claims data and other information that it

    receives from physicians and other providers is unreliable.         For this reason, United

    engages in extensive and expensive initiatives to review and correct that claims data.

    Unfortunately—for the United States—United deliberately chooses to look only one way

    in its remedial efforts.

             96.    United designs its chart review and other corrective initiatives to seek out

    only errors that, if corrected, will lead to increased risk adjustment payments. With the

    exception of certain small programs—designed to provide the appearance of fairness—

    United deliberately designs these programs to avoid discovering that United’s previously

    submitted risk adjustment claims are false (and thus that United should submit a “delete”

    code).

             97.    Although many of these programs could easily be used to look for both

    incremental and delete codes, United has deliberately structured them to look only for

    incremental codes. To provide cover for its scheme, United has a few limited initiatives

    designed to look for delete codes. However, these initiatives designed to find false

    claims are far smaller than their counterparts, and are subject to far stricter data validation

    rules.

             98.    Perhaps the best evidence of both United’s knowledge that the underlying

    claims data requires verification, and United’s fraudulent refusal to correct false claims is

    the disparity between its efforts to find “incremental” (new) codes and “delete”

    (previously submitted, but false) codes. United attempts to review the medical record for

    every member once every two years to try to find incremental codes, but only has a



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    nascent, limited project to identify delete codes. For 2009 dates of service, United

    reviewed approximately 1.4 million charts to try to find incremental codes, but only

    reviewed approximately 2,000 charts to try to find delete codes (and even then, only a

    limited portion of each chart was reviewed).

           99.     United runs multiple programs designed to identify additional HCCs for

    submission to CMS to increase its risk scores, including: (a) reviewing medical charts,

    (b) paying physicians bonuses for submitting paperwork to support claims for additional

    diagnosis codes, (c) sending physicians forms identifying conditions that United suspects

    the patient has, and (d) initiatives designed to get patients to visit their doctors each year

    for the purpose of being “treated” for high value diagnoses.

           100.    United pursues new codes through these initiatives with single-minded

    focus. As noted above, in the course of pursuing these initiatives, United often generates

    information that gives it reason to question the accuracy of diagnosis codes it has already

    submitted to CMS. United, however, intentionally (and myopically) does not compare

    the information to the diagnoses it has already submitted to CMS. Instead, United simply

    submits the incremental diagnoses it finds to CMS, purposely ignoring all evidence or

    suggestions of invalid diagnoses that it submitted improperly in the past.

                   1.      Chart Review

           101.    As described above, the vast majority of the information United uses as

    the basis for its risk adjustment claims comes initially from physicians, hospital or other

    providers in the form of claims data or other submissions. These sources are secondary

    to the primary records those providers hold—namely the patients’ medical records, also

    known as charts.




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           102.    As is common with secondary sources, the claims data and other

    information United receives from providers is known to have some (and at times many)

    errors—even when providers make good faith efforts to submit only accurate

    information. (As discussed in greater detail below, some providers deliberately upcode

    their claims information to manipulate the risk adjustment system; often because United

    pays them kickbacks to do so.)

           103.    For example, in some cases, the claims data does not include all of the

    diagnoses codes that it should. Providers often fail to document all diagnoses that were

    treated, because, historically, complete reporting of all treated diagnosis codes was

    generally not essential for reimbursement.

           104.    In other cases, the claims data erroneously indicates a patient was treated

    for a certain diagnoses. Sometimes this happens because of mere clerical error, but often

    it is the result of limitations in claims processing computer systems or a

    misunderstanding by coding personnel of the proper coding rules. For example, coders

    sometimes indicate that a patient was treated for a certain diagnosis, where, in fact, the

    patient only had a history of past treatment for the diagnosis, or the patient was tested to

    see if they had that diagnosis.

           105.    Moreover, there are routinely situations where the coding personnel

    correctly identify the patient as having been treated for a certain diagnosis, but make a

    mistake as to how severe the patient’s illness is. Thus, the coders may either overstate or

    understate the severity of the diagnosis.




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           106.    United’s chart review program is designed to directly review the original

    documents—the patient medical records held by the providers—to correct these known

    problems.

           107.    Because United has a duty to submit accurate data, and it knows that the

    claims data contains substantial errors, it has a dual responsibility when conducting these

    reviews: it should verify that already-submitted codes are accurate and documented while

    it looks for codes that should have been, but were not, submitted to CMS.

           108.    Ingenix conducts chart reviews on behalf of UHMR, UHCS, and

    commercial clients. In the retrospective chart review process, Ingenix identifies provider

    charts to review and arranges for the charts to be collected. It uses both internal coders

    and also contracts with external vendors to review and code the charts.

           109.    These vendors review charts using a blind review. In a blind review, the

    reviewer codes every condition he or she identifies from the chart without knowing what

    codes the provider identified from the chart previously. Thus, the reviewer works from

    the raw chart material and reaches independent conclusions.

           110.    Ingenix conducts chart reviews provider-by-provider. For each provider,

    the chart review vendor selects the United members who have not been reviewed in the

    past year. Following every provider review, the reviewer submits the diagnosis codes it

    found to Ingenix.

           111.    Ingenix defrauds CMS by acting on chart review data in two very different

    ways: it acts on the missed codes by submitting risk adjustment claims to CMS, but takes

    no action on the incorrect codes.




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           112.    When it receives the data from the reviewer, listing the diagnosis codes

    found during the review, Ingenix inputs the list into IRADS, its risk adjustment database

    (discussed in greater detail below). IRADS’ design adds the reviewer’s codes to the

    codes already in the system (i.e., the provider’s codes) like pouring additional water into

    a bucket.

           113.    For codes the reviewer coded but the provider did not code, IRADS will

    add a new entry. If this is a newly discovered diagnosis code for that patient—meaning

    no other provider had also reported treating the patient for that diagnosis during that time

    period—Ingenix will then submit a new risk adjustment claim to CMS.

           114.    Ingenix could easily perform a comparable comparison to look for over-

    coded diagnosis codes. Using either the data available from the chart reviewers or

    readily available additional information, Ingenix could determine whether a diagnosis

    code contained in IRADS was absent from the patient’s medical record for that given

    provider. Ingenix, however, refuses to take any steps to determine whether the chart

    review data has identified over-coded claims.

           115.    For situations where an existing code (e.g., one a provider had submitted

    with its claims data) was not validated by the reviewed provider’s medical records by the

    reviewers, IRADS does nothing. No effort is made to find other support for the diagnosis

    code or to delete from the IRADS system any claims that suggested the reviewed

    provider had treated the patient for the non-validated diagnosis.

           116.    Chart reviews have been lucrative for United. For 2006 dates of service,

    the first year of fully-phased in risk adjustment, United’s return on investment (“ROI”)

    from chart reviews was 15 to 1.         Exhibit 4, incorporated herein.     United spends




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    approximately $30 for each chart it reviews but receives an average of $450 per chart in

    additional CMS payments for the new codes it submitted. Id.

           117.    Relator believes that even if United properly conducted chart review—

    “looking both ways” for both helpful and harmful errors—United would still earn

    substantially more in newly found codes than it lost by correcting erroneous codes.

    However, United has steadfastly refused to take anything more than token steps to “look

    both ways.”

           118.    Unsurprisingly, UHMR and Ingenix have emphasized performing as many

    chart reviews as possible. UHMR reviewed approximately 600,000 charts in 2006 and

    approximately 600,000 in 2007. See Exhibit 4. On information and belief, Ingenix

    reviewed between 600,000 and 800,000 charts in 2008. In 2009, Ingenix reviewed

    approximately 800,000 charts. Exhibit 5, incorporated herein. United’s only limitation

    in the number of charts it can review is its providers’ dislike of the disruptions the

    reviews cause to their practices.

           119.    In 2010, United’s senior executives set a target for United’s risk

    adjustment programs to generate an additional $100 million in internal operating income

    (“IOI”) above and beyond what was originally targeted. For 2011, United’s incremental

    IOI target for risk adjustment is $125 million. Chart reviews are an important part of

    United’s strategy for realizing this additional IOI.

                   2.      Patient Assessment Forms

           120.    In addition to the chart review program, which involves broad review of

    the provider medical records, United has several initiatives which are targeted to a

    specific subset of patients or providers. As with the chart review program, these other




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    initiatives are designed to “look” just one way—seeking only to add incremental codes

    and ignoring evidence that previously submitted risk adjustment claims may be false.

            121.     United’s Patient Assessment Forms (“PAF”) program targets suspected

    undercoded conditions, such as certain chronic conditions that a provider or group has

    coded less frequently than their prevalence rates would indicate. For these conditions,

    such as diabetes and chronic kidney disease (“CKD”), Ingenix mines patient data for

    episodes in which a patient with a chronic condition has not been treated for a diagnosis

    during the payment year.

            122.    The PAF program also identifies target patients by looking for situations

    where a patient filled a prescription for a drug that suggests the patient has a given

    diagnosis, or engages in a behavior (e.g., smoking) that suggests a risk adjustment

    eligible diagnosis may be present.

            123.    Ingenix prepares a form for these target patients and sends the form to

    their doctor, so he or she can “treat” the patient for that condition. For example, if a

    provider diagnosed a member with diabetes in 2008 and 2009 but not 2010, Ingenix

    would send the provider a PAF and ask the provider to check the member for diabetes.

            124.    Ingenix pays providers a fee to encourage them to consult PAFs when

    treating their patients.

            125.    The program may have certain clinical benefit if and to the extent it helps

    ensure that members with chronic diseases receive treatment for their conditions.

    However, that clinical concerns are not driving this program is demonstrated by which

    patients are targeted. As with the chart review program, the PAF program focuses solely

    on disease and conditions that tend to be under-coded—and thus for which improved




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    coding accuracy stands to increase its revenue. Ingenix chooses the conditions it targets

    through PAFs based on revenue impact, not clinical impact, and ignores conditions that

    are frequently overcoded.

           126.   For example, United knows that cancer and stroke are often improperly

    coded years after the patient stopped receiving treatment. United could use the PAF

    program to highlight these potentially overcoded conditions to providers. For example, if

    a member has been coded with an acute episodic stroke for three continuous years,

    United can easily notify the provider that two of the three codes are probably incorrect.

    The member most likely had a stroke in the first year (i.e., not each year) and the

    condition should now be coded as “history of stroke.” United could alert the provider as

    to its suspicion, ask the provider to assess their coding and documentation for accuracy,

    and submit a medical chart supporting the diagnosis.      United does not include this

    information in its PAF reviews, however, because the provider’s poor coding habits

    actually increase United’s reimbursement from CMS. Therefore, though patients and

    providers might benefit from knowing this information, United chooses not to use it

    because it would decrease United’s revenue from CMS.

           127.   Initially, Ingenix received completed PAFs from providers and submitted

    the diagnoses listed on the PAF without reviewing the medical record. More recently,

    Ingenix has required that the medical record accompany the completed PAF—

    purportedly so that diagnoses claimed on the PAF could be “validated.” Instead, United

    actually reviews these medical records for incremental diagnoses that the provider may

    have missed. In this way, the PAF program has become a one-way chart review designed

    to only find incremental codes to submit to CMS for reimbursement.




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           128.    United not only skews the PAF program to focus solely on undercoded

    diagnoses, it prevents providers from taking the initiative on their own to focus on

    overcoded conditions. Ingenix maintains an online provider portal, called Insite, that

    “percent of premium” capitated providers (see ¶¶210–211) use to manage risk adjustment

    activities for their members.

           129.    Insite contains numerous reports geared towards helping providers assess,

    diagnose and code incremental conditions. One such report, for example, is the Central

    Suspect Report (“CSI”). Similar to PAFs, this report lists conditions that United suspects

    the member may have, but are not coded currently. Another report is the Declining RAF

    report. This report ranks members with risk scores that have declined period over period,

    a fact that highlights to providers that they may have missed one or more conditions in

    their coding. Some Insite reports go so far as to calculate the estimated financial impact

    for coding a particular condition. This allows the provider to estimate the incremental

    reimbursement the provider would receive from United by coding the specific condition.

    Similar to United’s other risk adjustment programs, Insite is designed to identify

    incremental diagnosis codes that United may submit to CMS for payment.

           130.    To Relator’s knowledge, however, Insite contains no function for

    providers to notify United of overcoded conditions.

           131.    Relator brought the discrepancy between overcoded and undercoded

    conditions to the attention of senior UHMR and Ingenix management. Management

    dismissed his concerns, however, with Ingenix arguing there were “better ways” to

    address overcoded conditions, such as chart validation, discussed below. Both UHMR

    and Ingenix knew, however, the chart validation program was incredibly limited, and that




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    the company had no plans to provide resources to address the problem of overcoded

    conditions through that program.

             132.   Instead, the PAF program is deliberately limited to seeking under-coded

    diagnosis codes so that United can avoid discovering over-coded diagnoses that it knows

    exist.

                    3.     Clinical Operations Initiatives

             133.   Clinical Operations Initiatives (“COI”) is a program designed in part to

    “improve” the coding of conditions that United believes are frequently “undercoded.”

    One such COI focuses on diabetes coding. As described above, the HCC model assigns

    multiple HCCs to conditions, such as diabetes, that have variations in severity and cost.

    For instance, a patient with well-controlled diabetes is likely to incur lower medical

    expenses than a patient with uncontrolled diabetes and complications. CMS therefore

    assigns a lower-paying HCC to well-controlled diabetes and a higher-paying HCC to

    uncontrolled diabetes. The goal of the COI program is to increase the severity of the

    diagnosis codes assigned to patients with one of these target HCCs.

             134.   Originally, the COI program sought to improve diabetes coding by

    monitoring providers with high percentages of HCC 19 codes. HCC 19 is a code for

    diabetes without complications. The risk score associated with HCC 19 is much lower

    than the risk score for HCC 15, which is the code for diabetes with renal complications.

    United suspected that some providers were coding HCC 19 when one of the more severe

    diabetes codes (HCC 15–18) would be more appropriate.

             135.   Under the COI program, United pays providers approximately $100 for

    each diabetes patient they assess for diabetes complications, submit a supporting

    diagnosis via a claim, and submit a medical record with matching documentation. In


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    addition, it pays $200 for each doctor that receives training on the COI program and

    diagnosis coding. Recently, the COI program has expanded to other conditions that

    United suspects are frequently undercoded, such as chronic kidney disease (“CKD”), and

    chronic pulmonary disease (“COPD”).

           136.    Like the PAF program, however, United does not pay doctors to improve

    coding for conditions that are frequently overcoded. Again, United knows that cancer

    and stroke are generally overcoded.     But because improving their accuracy would

    decrease revenue, United does not include these conditions in COI. Instead, COI is

    limited to conditions United believes are the most frequently undercoded, such as

    diabetes, CKD, and COPD, and represent large opportunities for increased

    reimbursement from CMS.

           137.    In addition, United looks one way with the medical records it receives

    from doctors under the COI program. Thus, when United receives a chart, it does not

    check whether the other diagnoses listed in the chart (such as those submitted through

    claims) are correct.

           138.    Even worse, Relator has information and believes that United does not

    delete its previous diagnosis when the provider submits a medical record that diagnoses

    the member with a less severe condition (such as diabetes) than before. For example,

    United may send the doctor a list of diabetic members to assess. One or more members

    may be coded with HCC 15 (diabetes with complications). If the doctor submits a claim

    and medical records for that member diagnosing the member with HCC 19 (diabetes

    without complications), United does not submit a delete code to CMS for HCC 15.

    United simply assumes, without justification, that another doctor was responsible for the




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    HCC 15 code.        Similar to its chart reviews, therefore, United affirmatively solicits

    diagnoses from its providers but ignores them when they cast doubt on the validity of a

    higher-paying diagnosis.

                   4.       Other Initiatives to Increase Risk Adjustment Payments

           139.    Ingenix runs several additional programs to increase risk adjustment

    payments, including:

           140.    Provider Attestations: Medical charts must be signed, credentialed and

    dated to be used to validate a diagnosis. When Ingenix performs chart reviews, it

    identifies charts that are missing one of these elements, preventing United from

    submitting the incremental diagnoses found in those charts to CMS for payment. To get

    around this obstacle, when Ingenix identifies a chart that is (1) missing an administrative

    element and (2) contains an incremental diagnosis that would increase United’s

    reimbursement from CMS, Ingenix sends an attestation form to the provider to confirm

    the administrative elements. If it receives the attestation from the provider, Ingenix

    submits the incremental codes in the charts to CMS for risk adjustment payment. If it

    does not receive the attestation, however, Ingenix does not delete any codes that the

    provider previously submitted for that member, even though Ingenix knows the

    member’s chart is invalid.

           141.    Members without Visits: To encourage members to visit their doctors at

    least once each year, Ingenix works with providers to schedule annual checkups. In some

    cases, this program can have clinical benefits, if the physician actually treats the patient,

    substantively, for the condition in question. However, in other situations, the visit is

    medically unnecessary if the patient is merely brought in so that the physician can “code

    the diagnosis” United has flagged for risk adjustment purposes.


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           142.    Hospital Data Capture: Under this program, Ingenix elicits “data dumps”

    from hospitals to ensure it has received all of their diagnosis codes. Hospitals often enter

    more diagnoses for a patient than are transmitted to United. The Hospital Data Capture

    program is designed to retrieve the incremental codes that United did not receive so that

    United can submit those codes to CMS for payment.

           143.    Provider Coding Training: United trains providers on how to code

    “properly.” United often directs training to providers with low risk scores or with a

    financial incentive to increase risk scores, such as percent of premium capitated

    providers. Historically, however, it does not proactively offer training to providers who

    have performed poorly in validation audits, because they routinely over-coded diagnoses.

    The reason, again, is that United’s priority is increasing code submissions.

           144.    United employs each of the above programs to increase its risk adjustment

    payments from CMS. In 2010 and 2011, United’s management directed UHMR to

    increase its internal operating income from risk adjustment by $100 million and $125

    million, respectively, above and beyond what was already planned. UHMR worked to

    achieve the targets by increasing its risk adjustment scores by capturing past conditions

    (PAF), decreasing the percentage of members without visits, increasing the number of

    providers that use Insite, and performing more chart reviews.

           145.    The company monitored the progress of each program closely.              The

    pressure to earn $100 million in additional risk adjustment income, however, gave

    UHMR no incentive to identify, block, and delete incorrect codes. In fact, the company

    viewed the possibility that it would have to start reviewing charts for incorrect codes as a

    negative.   In a January 2010 “Coding Accuracy Progress Report,” UHMR warned,




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    “Potential changes to general coding accuracy strategy, including chart audits, could

    impact 2010 results.” Exhibit 6, incorporated herein. In other words, looking both ways

    in chart reviews to identify both incremental and incorrect codes would jeopardize its

    ability to achieve the $100 million target.

                   5.      United Has Implemented Several Extremely Limited Programs
                           to Look for Unsupported HCCs

           146.    United knows that the claims and other data that provide the basis for its

    risk adjustment claims include errors in both directions—upcoding and downcoding. As

    such, United is well aware that it should be “looking both ways” during chart reviews,

    i.e., looking for both incremental and unsubstantiated codes.       However, rather than

    structure its chart reviews or its various related programs described above to “look both

    ways,” United has half-heartedly created a small chart validation program that is little

    more than a fig leaf designed to obscure its misconduct, and has been dragging its feet for

    years in completing a very limited pilot program designed to develop a system to look

    both ways.

           147.    Under the chart validation program, Ingenix selects providers who have

    coded certain HCCs at levels above the condition’s national prevalence rate. Ingenix

    audits the providers’ charts for those codes to determine if the codes were properly

    documented and substantiated.

           148.    United, however, imposes four restrictions to limit the number of

    validation audits it performs. First, the provider who submitted the code must be a Level

    I provider, defined as a provider with a financial incentive contract with United, such as a

    capitation or gainshare agreement. This limitation excludes both large provider groups

    without coding incentives (Level II) and small provider groups (Level III). Second, the



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    provider must have at least 500 United Medicare members. Third, for an HCC to qualify

    as “suspect,” the provider must have coded it at over 300% of Ingenix’s national

    prevalence rate. Fourth, United reviews a maximum of 30 members per provider and

    HCC, often a tiny sample size relative to the number of codes the provider submitted.

           149.    Ingenix’s approach to chart validation is therefore highly focused and

    excludes a vast majority of United’s providers and risk adjustment data. None of the

    limits on chart validation exist for chart reviews. For example, whereas chart validation

    contains safeguards to ensure diagnoses are not improperly deleted, United submits

    diagnoses from outside vendors’ chart reviews without validating them in any way. The

    reason for the limits on chart validation is that chart validation is an expense that has no

    revenue potential.

           150.    Ingenix’s chart validation program reviewed 4,000 charts in 2010 for the

    2008 and 2009 service years. By comparison, Ingenix’s chart review program reviewed

    approximately 1.4 million charts for the 2008 and 2009 service years. See Exhibit 5

    (2009 chart reviews).

           151.    Despite their limited scope, Ingenix monitors the results of its validation

    audits closely. It compiles data on the validation percentages of each HCC, as well as the

    validation percentages for each provider group. Often, Ingenix identifies specific HCCs

    and specific provider groups with low validation percentages. In May 2009, for instance,

    Ingenix’s Dr. Maninder Khalsa identified five problem HCCs (15 to 30% rejected codes):

    HCC 10 (breast, prostate, colorectal cancers); HCC 96 (stroke); HCC 15 (diabetes with

    renal/circulatory complications); HCC 105 (vascular disease); and HCC 92 (arrhythmias).




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           152.    Similarly, an Ingenix validation audit of 2008 codes from Hemet

    Community Medical Group reviewed 30 HCC 67 (quadriplegia) codes and validated two.

    Though this was an extreme result, Ingenix identified dozens of other provider groups

    with low validation totals in specific HCCs.

           153.    United, however, does little to nothing with the data it finds during chart

    validation. Though it submits delete codes for diagnoses that it cannot substantiate,

    Ingenix does not expand its search when it identifies a problem area.

           154.    For example, despite validating only 2 of 30 (less than 7 percent)

    quadriplegia HCCs from Hemet Community Medical Group, on information and belief

    Ingenix did not review any quadriplegia codes beyond the audit sample.

           155.    Nor has Ingenix targeted known over-coded conditions, such as cancer or

    strokes, for additional scrutiny. (By contrast, in 2009 Ingenix planned a “High Value

    Suspects” initiative to target potentially under-coded, high-revenue members and

    providers.)

           156.    In 2010, United developed a pilot program that would look for both

    incremental and unsupported diagnoses during chart reviews. Though the pilot program

    would look both ways if adopted, United continues to stack the deck in favor of

    submitting incremental codes. The pilot contains several limitations that do not exist in

    ordinary chart reviews.

           157.    First, the pilot is limited to members with only one provider so that United

    does not delete a diagnosis that some other provider’s chart might validate.              This

    restriction does not apply to chart reviews—during chart reviews, whenever United

    identifies a chart that calls another provider’s diagnosis into question, it ignores the chart.




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           158.    Second, United limited the number of charts the pilot program reviewed so

    that it had time to validate all of them before CMS’s January 31, 2011 deadline for

    submitting diagnoses from 2009 dates of service. In contrast, United does not limit its

    efforts to find incremental codes before the January 31 deadline to build in time to ensure

    the codes are valid. On the contrary—United runs special programs up to the deadline to

    find as many incremental diagnoses as possible. United does not pause to check whether

    it will have enough time to validate these incremental diagnoses, because it simply does

    not validate the diagnoses it submits.

                   6.      United Continues To Develop New Programs To Seek
                           Incremental Codes, While Slow-Walking Its Limited Efforts to
                           Correct Overcoded Claims

           159.    Relator has spoken with senior United executives about, and has other

    personal knowledge that those executives are aware of, the fraudulent risk adjustment

    practices discussed in this Complaint, including United’s chart review practices and other

    risk adjustment initiatives. On this basis, Relator knows that at least the following United

    executives know about some or all of the problems discussed herein, and have

    participated in the scheme to continue submitting fraudulent claims and to refuse to

    correct previously submitted false claims: Larry Renfro, UHG Executive Vice President;

    Tom Paul, UHMR Chief Executive Officer; Cindy Polich, UHMR President; Lee

    Valenta, Ingenix’s former Chief Operating Officer (and current President of Ingenix’s

    Life Sciences Division); Jack Larsen, former CFO of PSMG (and current CEO of

    UHCS); Scott Theisen, UHMR Senior Vice President of Finance; Jeff Dumcum, Senior

    Vice President of Ingenix; and David Orbuch, PSMG Chief Compliance Officer.

           160.    Although numerous United officials have acknowledged to Relator that

    the company should be “looking both ways” when it tests the validity of its risk


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    adjustment data sources, United continues to focus almost exclusively on adding

    incremental codes. Although United has created a very limited “pilot project” to test the

    possibility of “looking both ways” during chart reviews, that program gets limited

    resources and serves primarily as a fig leaf to mask the one-sided nature of United’s

    efforts.

               161.   Though the pilot is only experimental, United invokes it as justification for

    continuing its fraudulent chart reviews. In an email on September 9, 2010, UHMR

    President Cindy Polich emailed Relator that she and UHMR Chief Executive Officer

    Tom Paul had discussed whether to increase chart reviews despite knowing the reviews

    disregarded incorrect codes, and “had resolved the issue of concern by agreeing to

    develop and implement a pilot.” Exhibit 7, incorporated herein. Polich told Relator that

    she and Paul “both agreed that this issue should not stand in the way of moving forward

    with additional chart audits.” Id.

               162.   Moreover, United continues to invest significant resources toward finding

    incremental diagnoses at the same time it is not devoting resources to the pilot or to

    fixing IRADS. For example, United is developing “playbooks” containing ideas for

    increasing its risk scores.      These playbooks are garnering top-level attention at the

    company while the myriad problems with United’s risk adjustment programs and

    processes go unresolved.

               163.   United conceals the one-way nature of its risk adjustment programs from

    CMS and even its investors. For example, United’s remediation plan for 2010 that

    sought to increase IOI by $800 million allocated $100 million to “Project 7.” Project 7

    was United’s codeword for initiatives to increase risk adjustment payments.                The




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    company used a codeword (as opposed to “growth,” “enrollment,” or “claims”) because it

    did not want CMS or other investigatory government agencies to know it had a campaign

    to claim an additional $100 million through risk score increases.

           164.    Similarly, during its fourth-quarter earnings call on January 21, 2011, Tom

    Paul, CEO of UHMR, told investors that UHMR “on a year-over-year basis” was seeing

    “improvements” in its risk adjustment “accuracy rates.” This statement was misleading,

    for while UHMR had found and submitted a substantial number of incremental codes, it

    has no evidence that its submissions were more accurate (i.e., the error rate of the data it

    submits has decreased). This fact is well known at United.

           165.    At Relator’s urging, United has changed the text of the letters it sends to

    providers about chart reviews to remove the word “accuracy.” The letters now say that

    United reviews charts to ensure it submits “complete diagnosis information” to CMS, not

    complete and accurate information.

           C.      United Knows that its Risk Adjustment Claims Submission System Is
                   Flawed, and Routinely Submits False Claims, But Has Failed to Fix
                   that System or To Find and Fix Past False Claims

           166.    United knows of several significant problems with the way that its Ingenix

    Risk Adjustment Data System (“IRADS”) processes claims data and submits risk

    adjustment claims to CMS. These errors always, or almost always, cause the submission

    of false and/or upcoded claims. Almost never do these errors cause United to fail to

    submit a valid claim.

           167.    Notwithstanding this knowledge, United has failed to fix the IRADS

    system, or to fix the previously submitted false claims caused by these flaws in the

    programming and logic of the IRADS system.




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                   1.     Background

           168.    The risk adjustment information United submits to CMS originates

    primarily from provider encounter and claims data. Providers submit encounters and

    claims information to United through one of several automated systems, such as the

    Professional Encounter System (“PES”), COSMOS, NICE, Pulse, Facets, and others.

           169.    United collects data from these systems and sends the data to Ingenix for

    incorporation into IRADS. IRADS applies multiple logic filters to the data to identify

    which diagnosis codes are eligible for submission to CMS, and which are not.

           170.    For example, when UHMR receives a claim from a provider containing an

    ICD-9-CM diagnosis code for diabetes, IRADS should screen that claim to ensure that all

    the required data elements are present, pursuant to CMS rules. If IRADS finds the

    Provider ID on the claim corresponds to a primary care physician, and a CPT code for a

    physical examination, it should then submit the code for risk adjustment. This is because

    the information on the claim corresponds to a face-to-face encounter between a physician

    and the patient.    However, if the claim’s Provider ID corresponds to a laboratory

    technician and the CPT code is for blood work, IRADS should filter out that claim

    because it is clear the diagnosis code is based on a lab test, not a face-to-face encounter

    with an appropriate provider type.

           171.    From these eligible codes, IRADS creates the data file that Ingenix

    submits to CMS’s risk adjustment processing system (“RAPS”). Claims and encounter

    data processed through IRADS account for approximately 95% of the diagnoses United

    submits to CMS.




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                    2.      United Knows that the Filtering Logic Built Into IRADS is
                            Deeply Flawed and Consistently Errs in Favor of Overcoding
                            Risk Adjustment Claims

             172.   The serious problems that United has identified with IRADs include, but

    are not limited to:

             (a)    use of “exclusion logic” to bias IRADS filters so that when in doubt they

    err on the side of including a diagnosis code and submitting a claim;

             (b)    use of flawed logic concerning identification of provider specialties,

    leading to the inclusion of services provided by ineligible provider types;

             (c)    failing to correct the IRADS data, and failing to correct previously

    submitted claims, when a provider informs United that a previously submitted claim was

    invalid or incorrect;

             (d)    failing to properly separate information on individual service lines where

    one claim includes more than one separate procedure;

             (e)    consolidating provider information in a way that causes certain eligible

    and ineligible providers to share the same identifier;

             (f)    resubmitting previously deleted diagnoses to CMS;

             (g)    submitting diagnoses from an institutional claim where the patient did not

    receive a face-to-face service; and

             (h)    failing to update IRADS’ filtering logic to include the most current CPT

    codes.

             173.   These problems are interrelated and often work in conjunction to cause

    erroneous submissions.

             174.   Relator has discussed the problems with IRADS with many of United’s

    senior executives. In this way, Relator knows the company is aware of the problems.


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    Although United knows about the issues with IRADS, it has allowed Ingenix to continue

    submitting risk adjustment data to CMS, and has not disclosed the problems to CMS.

    United continues to submit diagnosis codes it knows are ineligible for risk adjustment.

    Likewise, United has not deleted codes that IRADS improperly submitted or even

    investigated the extent of the errors.

           175.    Relator has information to believe that the problems with IRADs may also

    be found in its legacy risk adjustment processing systems, and thus date from the very

    beginning of the risk adjustment system in 2004. United has intentionally not reviewed

    whether its legacy systems contained an error it has identified in IRADS (“Issue 1,”

    discussed infra) and thus whether it needs to delete any improperly-submitted codes, for

    example. United also has not reviewed whether its legacy systems contained any of the

    other errors it has identified in IRADS.

                           a)      Improper Use of Exclusion Logic

           176.    The most pervasive problem with IRADS is that it was built to use

    “exclusion logic” to filter diagnosis codes. As a result, the system essentially takes the

    position of “when in doubt, submit a claim.”

           177.    Generally speaking, exclusion logic compares objects in a database against

    a defined “exclusion list” and marks the matches (if any) for exclusion. For example,

    exclusion logic in an airport security system might compare travelers’ names against a

    list of the FBI’s Ten Most Wanted and flag any matches for security officials.

           178.    In IRADS, the exclusion logic filters out claims data if one or more of the

    data elements exactly matches a list of codes to exclude. For physician claims, the

    exclusion lists include, without limitation: (a) CPT codes; and (b) the provider’s specialty




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    type. For institutional claims, the lists include, without limitation: (a) the bill type; (b)

    the revenue code; and (c) discharge status.

           179.    Thus, for example, IRADS’ exclusion list for CPT codes includes the

    codes for ineligible procedures such as laboratory work and diagnostic radiology. If a

    CPT code for the diagnosis matches a CPT code on the exclusion list, IRADS excludes

    the diagnosis from the data United submits to CMS for risk adjustment.

           180.    IRADS’ exclusion logic, however, contains a basic and devastating

    error—it only catches information that matches information on its exclusion lists exactly.

    Information that is invalid but not on the exclusion list passes through the filter.

           181.    Incredibly, this means that even if a key data element is left blank, or filled

    with a completely erroneous value, IRADS assumes that is a valid value because the

    blank or erroneous value does not appear on the list of codes to exclude. Thus IRADS

    will use that claim data when submitting risk adjustment claims.

           182.    This error causes Ingenix to claim payment for HCCs taken from claims

    data that are obviously ineligible for risk adjustment. For example, IRADS may catch

    and filter a diagnosis with CPT code 74150 (a radiology code). However, it will not

    catch a diagnosis with a CPT code field that is blank, erroneous (e.g., 74x50), or even

    reads “this diagnosis is not eligible for risk adjustment.” So long as the field does not

    match the CPT codes on the exclusion list, the IRADS filter will not catch the bogus

    entry and the invalid diagnosis code will pass through to CMS.

           183.    The exclusion logic error is emblematic of United’s design for IRADS and

    its approach to risk adjustment in general—if United has any doubt about whether a

    diagnosis is eligible for risk adjustment, it submits it for payment.




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                           b)     Flawed Provider Specialty Logic

            184.   Because of an error in the way IRADS processes provider billing

    identification numbers (“billing IDs”), IRADS fails to screen many diagnoses by provider

    type. As described above, CMS forbids MA plans from submitting diagnoses based on

    documents from ineligible providers such as registered nurses (“RN”) or radiologists.

    Thus, CMS requires MA plans to screen the diagnosis codes they submit by provider

    type.

            185.   The claims and encounter forms that United enters into IRADS each

    contain a billing provider identification number (“billing ID”). UHMR typically assigns

    billing IDs on a billing/contract basis, such that large, multi-specialty provider groups

    contracted with UHMR often have a single billing ID.

            186.   IRADS takes a shortcut in how it screens for provider types—it assumes

    that if a billing ID ever submits a claim or encounter with an eligible provider type, then

    the billing ID’s future claims and encounter forms will also have eligible provider types.

    When IRADS receives a claim with an eligible provider type, it adds the billing ID from

    that claim to its list of billing IDs associated with eligible provider types. Once the

    billing ID has been added to that list, IRADS treats all claims submitted by that billing ID

    as valid, regardless of the actual provider specialty of the provider who provided the

    service in question.

            187.   For example, if a newly-credentialed medical center submits five claims to

    United for a radiologist, IRADS will identify the provider specialty as “radiologist,” an

    ineligible provider type, and block the diagnoses from going to CMS.

            188.   However, the first time the medical center submits a code from an eligible

    provider (e.g., internist), IRADS treats the billing ID as conclusive evidence that the


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    medical center’s future diagnoses will likewise be made by eligible providers. From that

    point forward, IRADS stops filtering the medical center’s claims by provider type

    altogether, allowing all subsequent diagnoses from the medical center’s radiologists to be

    submitted to CMS for risk adjustment (assuming they pass the other filters).

                          c)      Failure to Remove Diagnosis Codes Associated With
                                  Claims “Voided” by the Provider

           189.    When one of United’s institutional providers voids a claim that was the

    source of a risk adjustment claim submitted to CMS, United processes the void

    instruction (i.e., reverses the claim and recoups any claim payment) but does not delete

    the diagnosis code from its IRADS database or submit a delete code to CMS to reverse

    the risk adjustment claim.     CMS therefore pays United an additional amount for

    diagnoses taken from cancelled claims.

           190.    United’s general process for submitting diagnoses for risk adjustment

    starts with the claims and encounter data it receives from providers. Providers submit

    these claims and encounter data to United, which extracts data from them and enters the

    data into IRADS.

           191.    The “void and replace” occurs because IRADS only collects a limited

    portion of the data in the claims system. For example, United receives most claims from

    hospitals and other institutional providers on Form UB-04.        Exhibit 8, incorporated

    herein. Form UB-04 includes a field for the type of bill the claim represents (Item 4).

    The bill type is a three-digit code. The last digit of the code indicates whether the

    institution submitted the bill to void or replace a prior Form UB-04.

           192.    IRADS, however, is unable to process the bill type’s void/replace

    instruction. Thus when United receives instructions from a provider to void out a prior



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    claim, and then replace it with a new claim, IRADS essentially treats this as three valid

    claims: (a) the original claim; (b) the “void” instruction, which looks like the original

    claim but for the data element that identifies it as a voiding claim; and (c) the new claim.

    Thus, if no filter applies, IRADS submits to CMS both the diagnosis from the original

    claim and the diagnosis from the replacement claim.

           193.    IRADS submits false data because of this error. For example, a fee-for-

    service provider who submits a claim (“claim #2”) on Form UB-04 (diagnosis: vascular

    disease) to replace a claim (“claim #1”) on Form UB-04 (diagnosis: congestive heart

    failure (“CHF”)) will receive payment from United based on claim #2 only. United,

    however, submits both the vascular disease diagnosis (HCC 105) and the CHF diagnosis

    (HCC 80) to CMS for risk adjustment. By doing so, United represents that its member

    was treated for both conditions in the present year, when in fact the member was only

    treated for one. United claims payment from CMS for both conditions.

                          d)      Failure to Separately Filter Procedure Codes When
                                  Multiple Services Are Included on a Single Claim

           194.    IRADS also fails to distinguish which diagnosis codes are associated with

    which procedures in situations where one claim form contains separate line items for two

    or more different procedures. Instead, IRADS assumes that all diagnosis codes on a

    claim are associated with each of the procedure codes. Thus, if either of the procedure

    codes is valid for risk adjustment purposes, IRADS uses all of the diagnosis codes for

    risk adjustment.

           195.    Both professional (i.e., physician) and institutional (i.e., hospital) claims

    forms have multiple lines in which the provider can list the multiple procedures that may

    have been performed for a member. At least some of United’s claims systems, such as



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    NICE (legacy PacifiCare) are capable of processing individual service lines. IRADS,

    however, is not programmed to treat each line separately.

           196.      For example, a claim may contain two service lines: (1) an office visit

    with a doctor who diagnosed cancer; and (2) a laboratory procedure performed by a

    technician to determine if the member has diabetes. The claim contains two diagnoses

    (cancer and diabetes) drawn separately from the two service lines. IRADS, however,

    conflates the service lines into a single data point. When checking for CPT codes,

    therefore, IRADS identifies the eligible CPT code (the office visit) and attributes it to

    both the cancer and diabetes diagnoses, even though the doctor had only diagnosed

    cancer. The CPT code for the laboratory procedure is effectively ignored. Consequently,

    IRADS submits both diagnoses to CMS, falsely representing that the doctor had

    diagnosed and treated the patient for two conditions, when it fact the doctor had only

    diagnosed one.

           197.      The service lines that IRADS is incapable of processing appear in

    United’s claims forms.      For example, Health Insurance Claims Form 1500 (“Form

    1500”), the industry’s standard claims form for professional health services, contains a

    field (Item 33) for the provider ID as well as a field (Item 21) for diagnosis codes.

    Exhibit 9, incorporated herein. Form 1500 also includes six “service lines” (each line

    consists of Items 24A–J) indicating, inter alia, the dates of service, the procedures

    performed (i.e., CPT codes), the “diagnosis pointer,” and the rendering provider

    identification number. The diagnosis pointer (Item 24E) relates one of the diagnoses in

    Item 21 to each of the service lines in Item 24 in order to document which health

    condition each service treated.




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           198.    IRADS is unable to process critical information in Form 1500’s service

    lines (Item 24) that determines the claim’s risk adjustment eligibility. In addition to its

    inability to process CPT codes correctly, IRADS uses the field for billing provider

    number (Item 33) to determine whether an eligible provider type submitted the claim. In

    doing so, IRADS ignores Item 24J, which lists the rendering provider identification

    number for each service line. (The provider accumulator error is associated with this

    false correlation. See ¶¶184–188.) For example, in the prior example of a claim with two

    diagnoses (cancer and diabetes) from two service lines, Form 1500 lists the cancer and

    diabetes diagnoses in Item 21 and the doctor and the laboratory technician as rendering

    providers in Item 24J(1)–(2). Because IRADS relies on the billing provider (Item 33)

    and ignores the rendering provider (Item 24J), it does not filter the diabetes diagnosis,

    even though it is supported only by a lab request.

                          e)      Inappropriate Consolidation of Provider ID Numbers

           199.    IRADS misidentifies which providers are responsible for the diagnoses it

    submits to CMS. Due to its poor compatibility with United’s legacy claims systems,

    IRADS omits important information when consolidating the coding data it submits to

    CMS.

           200.    For example, COSMOS, one of United’s many claims adjudication

    systems, identifies providers with a code that is both alphabetic and numeric. The

    alphabetic code corresponds to the provider’s location. The provider ID for a primary

    care doctor in Birmingham, Alabama, for example, might resemble the following: BHM-

    012345. COSMOS either does not transmit the alphabetic portion of the code to IRADS,

    or it transmits the portion and IRADS does not process it.            Either way, during

    consolidation IRADs fails to process the BHM prefix and identifies the doctor simply as


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    012345. The truncation results in providers sharing the same identifier. IRADS cannot

    differentiate, for example, between the Birmingham primary care doctor and a radiologist

    in Cleveland, Ohio, whose provider ID was formerly OHC-012345. In IRADS, both

    providers share the same 012345 provider ID.

           201.    Due to the provider accumulator error, discussed in ¶¶184–188, once

    IRADS identifies a provider ID as valid, it does not filter claims from that provider ID

    even if the claims list an ineligible provider type. Thus, continuing the prior example, if

    the claim passes IRADS other filters, IRADS will submit diagnoses from both the

    Birmingham doctor and the Cleveland radiologist, even though the radiologist’s claims

    identify the radiologist as an ineligible provider type.

                           f)      Resubmission of Previously Deleted Diagnoses

           202.    IRADS submits improper diagnoses to CMS because it is unable to

    associate a diagnosis Ingenix has deleted with a duplicate diagnosis in a resubmitted

    claim. When Ingenix decides to delete a diagnosis code listed in a claim, and the claim is

    later resubmitted by the provider, IRADS does not associate the newly-resubmitted claim

    with the deleted diagnosis. Therefore, Ingenix may determine that a diagnosis was

    improperly submitted to CMS, and yet resubmit the same code (if no filter applies)

    because IRADS is unable to associate the resubmitted claim with the deleted diagnosis.

                           g)      Submitting Institutional Claims for Non-Face-To-Face
                                   Services

           203.    Perhaps most egregiously, United identified and disclosed to CMS a

    problem in IRADS that was causing it to submit false diagnoses, but has knowingly fixed

    the problem in only one out of two contexts.




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           204.    The problem, which United refers to as “Issue 1,” affects diagnosis codes

    that corresponded to multiple procedure codes. As discussed above, MA plans must use

    procedure codes to filter diagnoses codes to ensure the diagnoses were made during a

    face-to-face encounter with an eligible provider.           The procedure codes used in

    professional (e.g., physician) claims are known as CPT codes; the procedure codes used

    in institutional (e.g., hospital) claims are called revenue codes.

           205.    For Issue 1, IRADS was inexplicably programmed to skip CPT code

    filtering—and essentially assume that a diagnosis was made during a face-to-face

    encounter with an eligible provider—as long as the diagnosis code was associated with

    two or more CPT codes. IRADS made this assumption regardless of what the CPT code

    values were. Thus, even when the diagnosis code was submitted with two invalid CPT

    codes, IRADS would assume one of those codes was valid and submit a risk adjustment

    claim based on that diagnosis code.

           206.     In 2008 and 2009, United investigated Issue 1 and confirmed it had

    caused United to submit invalid diagnoses to CMS. United notified CMS, fixed the CPT

    code filter, and submitted delete codes for the false diagnoses.

           207.    United, however, knowingly did not fix Issue 1 as it pertains to

    institutional claims. For institutional claims, IRADS continues to use the same erroneous

    logic such that an institutional claim with multiple non face-to-face revenue codes (the

    institutional equivalent to CPT codes) will pass IRADS’ revenue code filter

    automatically. The result is that two wrongs often equal a right. A diagnosis with one

    bad revenue code is filtered out; a diagnosis with two bad revenue codes is submitted to

    CMS for payment.




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                           h)      United Knowingly Fails to Filter Diagnoses With
                                   Current Procedure Codes

           208.    To ensure that it screens diagnoses based on their procedure codes

    properly, United is required to review the procedure codes on its exclusion list annually.

    Procedure codes—CPT codes and revenue codes—are regularly modified or changed

    year-over-year, and MA plans often determine that they need to update their risk

    adjustment filters to reflect the changes.    United, however, fails to perform annual

    procedure code reviews. The exclusion logic in IRADS is therefore out of date and

    results in United improperly submitting to CMS diagnoses with procedure codes that are

    no longer associated with a face-to-face encounter with an eligible provider.

           D.      United Pays Kickbacks to Providers to Increase their Risk Scores

           209.    UHMR pays kickbacks to many of its provider groups to encourage them

    to increase the number and severity of diagnoses they submit to United. Since at least

    2005, UHMR has offered providers additional payments if and when the providers’

    patients’ risk scores increased.

           210.    United customizes its kickbacks depending on the nature of its overall

    reimbursement arrangement with the provider group. The providers United chooses to

    pay additional amounts for increased risk scores are those that do not already have an

    incentive to upcode diagnoses.       United uses three basic payment structures for its

    providers: (1) percent of premium capitated providers, which receive a percent of

    United’s CMS premiums for its patients; (2) “fixed” capitated providers, which receive

    PMPM payments from United that are not tied to United’s CMS premiums; and (3) fee-

    for-service providers, which are paid based on the claims they submit to United.




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           211.    “Percent of premium” capitated providers already share an incentive with

    United to upcode diagnosis codes, because they stand to earn a percentage of the

    additional revenue from CMS. Accordingly, United gives them no additional payment to

    reward increased risk scores.

           212.    Flat capitated providers and FFS providers, however, have no financial

    incentive to upcode diagnoses. United makes up for this by paying a “bonus” (kickback)

    if and when such providers increase their risk scores.

           213.    Generally speaking, United pays fixed capitated providers a PMPM

    amount for its members, with the provider carrying the risk of covering the members’

    healthcare costs. To encourage fixed capitated providers to maximize risk adjustment

    submissions, however, UHMR pays them an extra percentage of the capitation rate (or

    other bonus) when their patients’ risk scores increase.

           214.    For example, a January 1, 2009 Health Services Agreement between

    PacifiCare and Banner Physicians Hospital (“Banner”) promised to pay the hospital “an

    additional increase in Capitation Payment PMPM retroactive to January 1, 2009 if the

    increase in RAF [risk adjustment] score between July 2008 and July 2009 is in excess of

    3%.” Exhibit 10, incorporated herein. The amount of the increase equaled the amount of

    the percentage increase over 3%, such that a 4% increase in risk score would increase

    Banner’s capitation payments by 1%. Id.

           215.    UHMR’s contract with Banner reflects its policy and practice of offering

    providers (both capitated and fee-for-service) financial incentives to increase their risk

    adjustment submissions.     These agreements exist across UHMR’s plans, and were

    entered into between 2005 (or earlier) and 2010. The agreements are kickbacks that give




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    United’s providers a financial incentive to upcode the diagnoses codes they submit on

    their claims.

           216.     United also enters into contracts known as gainshare agreements with

    certain FFS provider groups. Under these agreements, United and the provider group

    agree on a target benefit-cost ratio (“BCR”). If the provider group achieves a BCR lower

    than the target, United and the provider share the savings.

           217.     United provides kickbacks to provider groups, however, by renegotiating

    the terms of gainshare agreements to ensure the groups realize savings. For example, on

    January 24, 2011, UHMR Vice President of Finance Tim Noel told Relator that United

    and MedicalEdge, a provider group in Texas, entered into a gainshare agreement for a

    particular year in which the target BCR was 79% and any savings would be split 60/40

    between MedicalEdge and United.          In May of that year, United renegotiated the

    agreement. The new agreement raised the BCR from 79% to 82%, making it easier to

    attain, but changed the split from 60/40 to 50/50. Though MedicalEdge took a lower

    percentage, the renegotiation more or less guaranteed that it would receive a savings

    payment. Furthermore, the renegotiated target was applied retroactively back to January

    of the contract year.    Because of the mid-year contract renegotiation, MedicalEdge

    received millions of dollars more than it otherwise would have under the terms of the

    original gainshare agreement.

           218.     UHMR enters into gainshare agreements with provider groups across its

    various plans and networks. On information and belief, UHMR’s gainshare practices

    began at least as far back as 2007 (and most likely earlier) and continue to the present.




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           E.      UHMR’s Percent of Premium Capitated Provider Groups Submit
                   False Risk Adjustment Data with United’s Knowledge and Approval

           219.    UHMR contracts with many capitated provider groups nationwide. As

    described above, percent of premium capitated providers are paid a portion of whatever

    premiums United receives from CMS. Consequently, such capitated providers share

    UHMR’s incentive to submit as many diagnosis codes as possible to CMS.

           220.    From the inception of CMS’s risk adjustment system, UHMR and Ingenix

    have known that many of their capitated providers are fraudulently submitting false and

    incorrect risk adjustment diagnoses. United’s policy and practice, however, has been to

    continue accepting diagnoses from its capitated providers even when it knows the data

    from those providers is unreliable. Only in rare instances does United audit its providers,

    and in those instances it merely deletes whatever bad diagnoses it finds without

    conducting a top-to-bottom review, correcting the capitated provider’s methods or

    terminating its relationship with the provider. Thus, UHMR and Ingenix knowingly

    submit, or cause the submission of, false risk adjustment claims to CMS.

           221.    On information and belief, UHMR’s capitated providers are knowingly

    submitting incorrect and/or unsubstantiated codes to Ingenix, for transmission to CMS.

    For example, Princeton IPA of San Antonio, a capitated provider within defendant

    WellMed, had a risk score of 1.383 in January 2010 among its 34,163 members (by

    January 2011, Princeton’s risk score was 1.504 among 34,902 members). Exhibit 11,

    incorporated herein.    Such a risk score suggested that WellMed’s members were

    substantially sicker than average (CMS sets the risk score for an average Medicare

    beneficiary at 1). UHMR knows that WellMed’s unusually high risk score is in large part

    attributable to fraud. For example, Relator learned in the fall of 2010, following an audit



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    conducted by Ingenix, that WellMed (Princeton IPA of San Antonio) routinely submits

    improper diagnoses.

           222.   Relator has information and believes that WellMed maintains policies and

    practices designed to maximize its risk adjustment submissions without regard to their

    accuracy or eligibility. WellMed allocates significant resources to increasing its risk

    adjustment payments, submitting data to IRADS through its own processing system,

    DataRap, which is designed to identify HCCs (and which UHMR previously used

    directly for a portion of its Texas membership).      In addition, WellMed previously

    conducted chart reviews on behalf of UHMR to identify codes for retroactive submission

    to CMS.

           223.   As a further incentive to find and submit diagnoses, WellMed received

    kickbacks from United for submitting risk adjustment codes. For example, WellMed’s

    2005 contract with PacifiCare (later United) included annual payments according to a

    payment schedule tied to increased risk scores. Exhibit 12, incorporated herein. (If

    WellMed’s risk scores fell below a 2005 benchmark, no payment was due.)

           224.   Moreover, PacifiCare agreed “to pay a[n additional] contingency for

    maintaining an increased HCCRAF [i.e., risk] score.” Id. at 12 (Emphasis added.) Thus,

    if WellMed maintained United’s high risk scores year over year, PacifiCare would pay

    WellMed an extra amount annually on top of the payment schedule. These fees totaled

    $450,000 in 2006, between $3.1 and $3.5 million in 2007, $5.2 million in 2008, and $6.4

    million in 2009. As described supra ¶¶209–218, WellMed’s contract contains an illegal

    kickback and motivated WellMed to report inflated risk scores.




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           225.    WellMed’s risk adjustment practices gave it the highest projected risk

    score among UHMR’s capitated providers with over 2,000 members in January 2010.

    On information and belief, WellMed knows, and has ample reason to know, that the risk

    adjustment information it submits to Ingenix is ineligible for transmission to CMS.

           226.    Instead of imposing a corrective action plan on WellMed or terminating its

    contract, UHMR bought most of WellMed’s business in 2011. Thus, UHMR continues

    to submit—and has refused to correct previously submitted—diagnoses to CMS from

    WellMed, even though it knows many of those diagnoses are false, and has increased its

    revenue from WellMed’s fraudulent coding by buying a stake in it.

           227.    On information and belief, UHMR and Ingenix are aware that other

    capitated providers are submitting false risk adjustment data, based in part on UHMR’s

    and Ingenix’s policy and practice of conducting risk score studies and prevalence rate

    analyses. UHMR’s and Ingenix’s course of conduct, however, has been to continue

    submitting—and to refuse to correct previously submitted—risk adjustment data to CMS

    for these capitated providers, even when they have identified the providers’ information

    as suspect.

           F.      Ingenix and Its Commercial Customers Also Submit False Risk
                   Adjustment Claims

           228.    Ingenix performs risk adjustment services for health plans other than

    United’s. The health plans include, without limitation, defendants Health Net, Arcadian,

    and Tufts.    The services Ingenix provides these plans include both processing and

    submitting risk adjustment claims to CMS using the flawed IRADS system and

    performing chart reviews for incremental codes. Ingenix performs these services in the




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    same manner as it does for United, as discussed infra. As such, Ingenix knowingly

    submits, and causes to be submitted, false claims on behalf of its commercial clients.

           229.    Ingenix’s commercial clients named as defendants in this Complaint know

    or have reason to believe that Ingenix’s chart review practices are fraudulent. Their

    knowledge is in some instances direct.

           230.    For example, Ingenix told at least some clients that it was developing a

    system to start “looking both ways”—e.g., to look for both incremental and inaccurate

    diagnoses during chart reviews (this system has not been adopted).               Relator has

    information and believes that some of Ingenix’s commercial clients, having opt-out

    clauses in their contracts, have told Ingenix that they will cease using Ingenix to submit

    their risk adjustment data if Ingenix decides to start “looking both ways.”

           231.    Health Net, meanwhile, has told Ingenix that it would simply follow

    United’s lead, agreeing to having Ingenix review its charts for incremental and incorrect

    codes only if and when United implemented such reviews.

           232.    In addition, defendants have reason to know that Ingenix ignores incorrect

    diagnoses when it performs chart reviews: when Ingenix reports chart review results to its

    clients, it reports thousands of additional diagnoses, but no delete codes. The defendants

    know the risk adjustment data they submitted to CMS was not 100% accurate and

    substantiated. By not identifying a single diagnosis to delete or replace, Ingenix clearly

    demonstrates to its clients that it disregards inaccurate and/or ineligible diagnoses.

                                              COUNT

                    Substantive Violations of the Federal False Claims Act
                          31 U.S.C. §§ 3729(a)(1)(A)–(C), (a)(1)(G)




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            233.    Relator realleges and incorporates by reference the allegations made in

    Paragraphs 1 through 232 of this Complaint.

            234.    This is a claim for treble damages and forfeitures under the Federal False

    Claims Act, 31 U.S.C. §§ 3279–33, as amended.

            235.    Through the acts described above, Defendants their agents, employees,

    and co-conspirators, knowingly presented, or caused to be presented, to the United States

    false and fraudulent claims, and knowingly failed to disclose material facts, in order to

    obtain payment or approval from the United States and its contractors, grantees, and other

    recipients of its funds.

            236.    Through the acts described above, Defendants, their agents, employees,

    and co-conspirators, knowingly made, used, and caused to be made and used false

    records and statements, which also omitted material facts, in order to induce the United

    States to approve and pay false and fraudulent claims.

            237.    Through the acts described above, Defendants, their agents, employees,

    and co-conspirators, knowingly made, used, and caused to be made and used false

    records and statements material to an obligation to pay and transmit money to the United

    States, and knowingly concealed and improperly avoided and decreased an obligation to

    pay and transmit money to the United States.

            238.    Through the acts described above, Defendants, their agents, employees

    and other co-conspirators knowingly conspired to submit false claims to the United States

    and to deceive the United States for the purpose of getting the United States to pay or

    allow false or fraudulent claims.




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           239.    The United States, unaware of the falsity of the records, statements, and

    claims made and submitted by Defendants, its agents, employees, and co-conspirators,

    and as a result thereof, paid money that it otherwise would not have paid.

           240.    By reason of the payment made by the United States, as a result of

    Defendants’ fraud, the United States has suffered millions of dollars in damages and

    continues to be damaged.

                                            PRAYER

           WHEREFORE, qui tam plaintiff Benjamin Poehling prays for judgment against

    defendants as follows:

           1.      That Defendants cease and desist from violating 31 U.S.C. §§ 3279–33;

           2.      That the Court enter judgment against Defendants in an amount equal to

    three times the amount of damages the United States has sustained as a result of

    Defendants’ actions in violation of the Federal False Claims Act, as well as a civil

    penalty of $11,000 for each violation of 31 U.S.C. § 3729;

           3.      That Relator be awarded the maximum amount allowed pursuant to 31

    U.S.C. § 3730(d) of the Federal False Claims Act;

           4.      That Relator be awarded all costs of this action, including attorneys' fees

    and expenses; and

           5.      That the United States and Relator receive all such other relief as the

    Court deems just and proper.




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                                      JURY DEMAND

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby

    demands trial by jury.


    DATED: March 24, 2011                       Respectfully submitted,




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